Case 3:21-cv-00161-DJH-LLK Document 92 Filed 12/06/22 Page 1 of 4 PageID #: 1087




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                                   NO. 3:21-CV-161-DJH


 KENNETH WALKER III, et al.                                                          PLAINTIFFS

 v.                            AGREED ORDER OF DISMISSAL

 LOUISVILLE/JEFFERSON COUNTY
 METRO GOVERNMENT, et al.                                                          DEFENDANTS

                                          * * * * * * * *

        As part of the global settlement, Plaintiff, Kenneth Walker, III has agreed to dismiss his

 claims against Defendant Louisville/Jefferson County Metro Government, including their heirs,

 agents, members, assigns, representatives, employees, and successors, including, but not limited

 to, any named or unnamed Defendants in the Lawsuits; and unknown and unnamed agents,

 officers and employees of the Louisville Metro Police Department, pursuant to terms agreed

 upon by the parties.

        IT IS HEREBY ORDERED that the Plaintiff’s claims against the Defendants

 Louisville/Jefferson County Metro Government, and any and all unknown employees of the

 Louisville Metro Police Department are hereby DISMISSED WITH PREJUDICE. Each party

 is to bear their own costs. The entire action is hereby dismissed.

        This is a final and appealable Order with no just cause for delay.




                                       ____________________________________________
                                       Judge David J. Hale
                                       U.S. District Court for the Western District of Kentucky



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Case 3:21-cv-00161-DJH-LLK Document 92 Filed 12/06/22 Page 2 of 4 PageID #: 1088




 /s/ Kristie B. Walker__
 Michael O’Connell
 Kristie B. Walker
 Office of the County Attorney
 First Trust Centre
 200 S. Fifth Street, Suite 300N
 Louisville, KY 40202
 Kristie.walker@louisvilleky.com
 Counsel for Defendants
 Louisville/Jefferson County Metro Government;
 Officer Michael Campbell; Detective Michael Nobles;
 Lieutenant Shawn Hoover; and
 Detective Tony James

 HAVING SEEN AND AGREED:

 /s/ Frederick W. Moore, signed with permission_
 Frederick W. Moore, III
 H. Philip Grossman
 Abigale Rhodes Green
 Grossman Green PLLC
 2000 Warrington Way, Suite 170
 Louisville, KY 40222
 fmoore@grossmangreen.com

 /s/ Ruby J. Garrett, signed with permission
 Ruby J. Garrett
 Donald B. Verrilli, Jr.
 Dahlia Mignouna
 Brendan B. Gants
 Munger, Tolles & Olson LLP
 601 Massachusetts Avenue NW Suite 500 E
 Washington, DC 20001
 ruby.garrett@mto.com

 /s/ Jacob S. Krielkamp, signed with permission
 Jacob S. Kreilkamp
 Robyn K. Bacon
 Munger, Tolles & Olson LLP
 350 S. Grand Avenue 50th Floor
 Los Angeles, CA 90071




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Case 3:21-cv-00161-DJH-LLK Document 92 Filed 12/06/22 Page 3 of 4 PageID #: 1089




 /s/ Clifford M. Sloan, signed with permission
 Clifford M. Sloan
 Georgetown University Law Center
 600 New Jersey Avenue NW
 Washington, DC 20001
 Cliff.sloan@georgetown.edu

 /s/ Steven R. Romines, signed with permission
 Steven R. Romines
 Romines Weis & Young PSC
 600 West Main Street, Suite 100
 Louisville, KY 40202
 sromines@rominesweisyoung.com
 Counsel for Plaintiff Kenneth Walker III

 /s/ James P. Dilbeck, Jr., signed with permission
 James P. Dilbeck, Jr.
 Jace S. Martin
 Dilbeck & Myers
 8005 Lyndon Centre Way
 Louisville, KY 40202
 jay@dilbeckandmyers.com
 jmartin@dilbeckandmyers.com
 Counsel for Defendant Joshua Jaynes

 /s/ Kent Wicker, signed with permission
 Kent Wicker
 William H. Brammell, Jr.
 Kayla M. Campbell
 Dressman Benzinger LaVelle PSC
 321 W. Main Street, Suite 2100
 Louisville, KY 40202
 kwicker@dbllaw.com
 bbrammell@dbllaw.com
 kcampbell@dbllaw.com
 Counsel for Defendants
 Detective Myles Cosgrove and
 Sergeant Jonathon Mattingly

 /s/ Matthew A. Piekarski, signed with permission
 Matthew A. Piekarski
 Katherine T. Watts
 PHILLIPS PARKER ORBERSON & ARNETT, PLC
 716 West Main Street, Suite 300
 Louisville, Kentucky 40202
 (502) 583-9900
 Counsel for Defendant Brett Hankison
                                                 3
Case 3:21-cv-00161-DJH-LLK Document 92 Filed 12/06/22 Page 4 of 4 PageID #: 1090




 /s/ Joseph C. Klausing, signed with permission
 Joseph C. Klausing
 O'Bryan, Brown & Toner, PLLC
 401 S. Fourth Street, Suite 2200
 Louisville, KY 40202
 502-585-4700
 Fax: 502-585-4703
 klausingj@obtlaw.com
 Counsel for Defendant Kelly Goodlett

 /s/ Bradley R. Palmer, signed with permission
 Bradley R. Palmer
 Ken Bohnert
 CONLIFFE, SANDMANN & SULLIVAN, PLLC
 325 W. Main Street, Unit 2000
 Louisville, KY 40202
 (502) 587-7711
 Counsel for Defendant Kyle Meany




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